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 9                                                            UNITED STATES DISTRICT COURT
10                                                        CENTRAL DISTRICT OF CALIFORNIA
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12     MOHAMAD ESSAYLI,                                                                                                  Case No.: 8:21-CV-1397-CJC-DFM
13           Plaintiff,                                                                                                  ORDER RE STIPULATION TO
                                                                                                                         DISMISS DEFENDANT DIAZ &
14     v.                                                                                                                ASSOCIATES, INC.
15     DIAZ & ASSOCIATES, INC.,
16           Defendant.
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19          Pursuant to stipulation ofthe parties, Defendant Diaz & Associates, Inc. is hereby
20 dismissed with prejudice.

21          IT IS SO ORDERED:
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23 Dated: June 24, 2022

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                                                                                                     U.S. District Court Judge Cormac J. Carney
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                            ORDER RE STIPULATION TO DISMISS DEFENDANT DIAZ & ASSOCIATES, INC.
